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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )            8:14CR156
                    Plaintiff,                 )
                                               )
      vs.                                      )             ORDER
                                               )
ROCKY VERDUGO,                                 )
                                               )
                    Defendant.                 )


      Unless specifically requested by a party for good cause, the arraignment on the
Superseding Indictment for this defendant shall immediately precede jury selection or the
change of plea hearing, whichever is applicable.


      IT IS SO ORDERED.


      DATED this 22nd day of August, 2014.


                                               BY THE COURT:

                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
